Case 2:24-cv-00371-PA-AGR Document 52 Filed 04/24/24 Page 1 of 32 Page ID #:590




   1 PERRY LAW
     E. Danya Perry (admitted pro hac vice)
   2
     dperry@danyaperrylaw.com
   3 Karen Agnifilo (admitted pro hac vice)
     kagnifilo@danyaperrylaw.com
   4
     Joshua Stanton (admitted pro hac vice)
   5 jstanton@danyaperrylaw.com
     445 Park Ave, 7th Floor
   6
     New York, New York 10022
   7 Telephone: (212) 213-3070
   8 Facsimile: (646) 849-9609
   9 [Additional attorneys are listed on next
  10 page]
  11 Attorneys for Defendants
  12 James Dolan and JD & The Straight
     Shot, LLC
  13
                         UNITED STATES DISTRICT COURT
  14
                        CENTRAL DISTRICT OF CALIFORNIA
  15
                               WESTERN DIVISION
  16
  17
       KELLYE CROFT.                            Case No. 2:24-cv-00371-PA (AGR)
  18
                   Plaintiff,                   NOTICE OF MOTION AND MOTION
  19                                            OF DEFENDANTS JAMES DOLAN
       vs.
  20                                            AND JD & THE STRAIGHT SHOT,
     JAMES DOLAN, HARVEY                        LLC TO DISMISS PURSUANT TO
  21 WEINSTEIN, JD & THE                        FEDERAL RULE OF CIVIL
     STRAIGHT SHOT, LLC, THE
  22 AZOFF COMPANY HOLDINGS                     PROCEDURE 12(b)(6);
     LLC f/k/a AZOFF MUSIC                      MEMORANDUM OF POINTS AND
  23 MANAGEMENT, LLC, THE                       AUTHORITIES
     AZOFF COMPANY LLC f/k/a
  24 AZOFF MSG ENTERTAINMENT,
     LLC, and DOE CORPORATIONS 1-               Filed concurrently with [Proposed] Order
  25 10,
                                                Date:     June 3, 2024
  26              Defendants.                   Time:     1:30 p.m.
  27                                            Judge:    Hon. Percy Anderson
  28

       NOTICE OF MOTION AND MOTION OF DEFENDANTS JAMES DOLAN AND JD & THE STRAIGHT SHOT,
                LLC TO DISMISS PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 12(b)(6)
Case 2:24-cv-00371-PA-AGR Document 52 Filed 04/24/24 Page 2 of 32 Page ID #:591




   1 KENDALL BRILL & KELLY LLP
     Robert E. Dugdale (167258)
   2
     rdugdale@kbkfirm.com
   3 Michael J. McCarthy (334829)
     mmccarthy@kbkfirm.com
   4
     10100 Santa Monica Blvd., Suite 1725
   5 Los Angeles, California 90067
     Telephone: (310) 556-2700
   6
     Facsimile: (310) 556-2705
   7
     ROSENBERG, GIGER & PERALA, P.C.
   8 John J. Rosenberg (admitted pro hac vice)
   9 jrosenberg@rglawpc.com
     152 West 57th Street, 18th Floor
  10 New York, New York 10019
  11 Telephone: (646) 494-5000
     Facsimile: (646) 595-0590
  12
  13
  14
  15
  16
  17
  18
  19
  20
  21
  22
  23
  24
  25
  26
  27
  28

       NOTICE OF MOTION AND MOTION OF DEFENDANTS JAMES DOLAN AND JD & THE STRAIGHT SHOT,
                LLC TO DISMISS PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 12(b)(6)
Case 2:24-cv-00371-PA-AGR Document 52 Filed 04/24/24 Page 3 of 32 Page ID #:592




   1                                  NOTICE OF MOTION
   2            TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
   3            PLEASE TAKE NOTICE that on June 3, 2024, at 1:30 p.m., or as soon
   4 thereafter as the matter may be heard, in Courtroom 9A of this Court, located at 350
   5 West 1st Street, Los Angeles, California 90012, Defendants James Dolan and JD &
   6 the Straight Shot, LLC (collectively, the “Dolan Defendants”) will and hereby do
   7 move this Court for an order dismissing the First, Second, and Fourth Causes of
   8 Action of Plaintiff Kellye Croft’s First Amended Complaint. Doc. No. 48.
   9            The Dolan Defendants move on the grounds that, pursuant to Federal Rule of
  10 Civil Procedure 12(b)(6), as to the First, Second and Fourth Causes of Action, Croft
  11 fails to state any claim against them upon which relief can be granted. The Dolan
  12 Defendants further move for dismissal pursuant to Federal Rule of Civil Procedure
  13 12(b)(6) on the ground that the Fourth Cause of Action is barred by a release and
  14 injunction entered by the United States Bankruptcy Court for the District of Delaware.
  15 This Motion is based on this Notice of Motion and Motion, the attached Memorandum
  16 of Points and Authorities in support of the Motion filed concurrently herewith, the
  17 record in this action, and any evidence and argument that may be presented at or
  18 before the hearing on this Motion.
  19            This Motion is made following the conference of counsel required pursuant to
  20 Local Rule 7-3, which took place on March 18, 2024, and April 19, 2024.
  21
  22
  23
  24
  25
  26
  27
  28
       604405361.1                                1
       NOTICE OF MOTION AND MOTION OF DEFENDANTS JAMES DOLAN AND JD & THE STRAIGHT SHOT,
                LLC TO DISMISS PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 12(b)(6)
Case 2:24-cv-00371-PA-AGR Document 52 Filed 04/24/24 Page 4 of 32 Page ID #:593




   1 DATED: April 24, 2024            Respectfully submitted,
   2
                                      PERRY LAW
   3
   4                                  By:      /s/ E. Danya Perry
   5                                     E. Danya Perry
   6                                     Karen Agnifilo
                                         Joshua Stanton
   7                                     Attorneys for Defendants James Dolan and JD
   8                                     & The Straight Shot, LLC

   9
  10                                  By:      /s/ John J. Rosenberg
                                         John J. Rosenberg
  11                                     ROSENBERG, GIGER & PERALA, P.C.
                                         Attorneys for Defendants James Dolan and JD
  12                                     & The Straight Shot, LLC
  13
  14                                  By:      /s/ Robert E. Dugdale
  15                                     Robert E. Dugdale
                                         Michael J. McCarthy
  16                                     KENDALL BRILL & KELLY
  17                                     Attorneys for Defendants James Dolan and JD
                                         & The Straight Shot, LLC
  18
  19
  20
  21
  22
  23
  24
  25
  26
  27
  28
       604405361.1                            2
       NOTICE OF MOTION AND MOTION OF DEFENDANTS JAMES DOLAN AND JD & THE STRAIGHT SHOT,
                LLC TO DISMISS PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 12(b)(6)
Case 2:24-cv-00371-PA-AGR Document 52 Filed 04/24/24 Page 5 of 32 Page ID #:594




   1                                              TABLE OF CONTENTS
                                                                                                                                Page
   2
       I.       PRELIMINARY STATEMENT ....................................................................... 1
   3
       II.      LEGAL STANDARD ....................................................................................... 3
   4
       III.     ARGUMENT .................................................................................................... 4
   5
                A.       The FAC Fails to State a Claim Under 18 U.S.C. §§ 1591 and
   6                     1595 ......................................................................................................... 4
   7                                        1.        The FAC Fails to Make Out a Perpetrator
                                                      Claim ........................................................................ 5
   8
                                                      a.        The FAC Does Not Allege That the
   9                                                            Dolan Defendants Knowingly Engaged
                                                                in Any Conduct Prohibited Under the
  10                                                            TVPA ............................................................. 5
  11                                                  b.        The FAC Does Not Allege a
                                                                Commercial Sex Act ...................................... 7
  12
                                            2.        The FAC Fails to State a Beneficiary Claim
  13                                                  Under the TVPA as to the Dolan Defendants .......... 8
  14                                                  a.        The FAC Fails to Allege that the Dolan
                                                                Defendants Received Any Actionable
  15                                                            Benefit............................................................ 8
  16                                                  b.        The FAC Fails to Allege the Dolan
                                                                Defendants Participated in a Sex
  17                                                            Trafficking Venture ....................................... 9
  18                                                  c.        The FAC Fails to Allege that the Dolan
                                                                Defendants Knew or Should Have
  19                                                            Known that Any Venture Trafficked
                                                                the Plaintiff .................................................. 10
  20
                B.       The FAC Fails to State a Claim for Sexual Battery.............................. 10
  21
                                            1.        The FAC Fails to Plausibly Allege the
  22                                                  Elements of a Sexual Battery Claim ...................... 10
  23                                        2.        Plaintiff’s Sexual Battery Claim is Time-
                                                      Barred ..................................................................... 12
  24
                C.       The FAC Fails to State a Claim Against Mr. Dolan for Aiding
  25                     and Abetting Weinstein ......................................................................... 14
  26                                        1.        The FAC Does Not Allege that Mr. Dolan
                                                      Knew Weinstein Was Going to Sexually
  27                                                  Assault Plaintiff...................................................... 15
  28
       604405361.1                                                    i
       NOTICE OF MOTION AND MOTION OF DEFENDANTS JAMES DOLAN AND JD & THE STRAIGHT SHOT,
                LLC TO DISMISS PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 12(b)(6)
Case 2:24-cv-00371-PA-AGR Document 52 Filed 04/24/24 Page 6 of 32 Page ID #:595




   1                                      2.       The FAC Fails to Allege that Mr. Dolan Gave
                                                   Substantial Assistance or Encouragement to
   2                                               Weinstein................................................................ 16
   3                                      3.       Plaintiff’s Aiding and Abetting Claim was
                                                   Filed in Contravention of, and is Barred by, a
   4                                               Release and Injunction Entered by the
                                                   Bankruptcy Court for the District of Delaware ..... 18
   5
       IV.      CONCLUSION ............................................................................................... 21
   6
   7
   8
   9
  10
  11
  12
  13
  14
  15
  16
  17
  18
  19
  20
  21
  22
  23
  24
  25
  26
  27
  28
       604405361.1                                               ii
       NOTICE OF MOTION AND MOTION OF DEFENDANTS JAMES DOLAN AND JD & THE STRAIGHT SHOT,
                LLC TO DISMISS PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 12(b)(6)
Case 2:24-cv-00371-PA-AGR Document 52 Filed 04/24/24 Page 7 of 32 Page ID #:596




   1                                          TABLE OF AUTHORITIES
   2                                                                                                                Page(s)
   3
        Federal Cases
   4
        Ashcroft v. Iqbal,
   5       556 U.S. 662 (2009) ............................................................................................. 3
   6
     B.J. v. G6 Hosp., LLC,
   7    2023 WL 3569979 (N.D. Cal. May 19, 2023) ..................................................... 8
   8 Bell Atl. Corp. v. Twombly,
   9    550 U.S. 544 (2007) ............................................................................................. 3
  10 Doe v. Fitzgerald,
  11   2022 WL 425016 (C.D. Cal. Jan. 6, 2022)............................................. 5, 7, 9, 11

  12 In re First All. Mortg. Co.,
         471 F.3d 977 (9th Cir. 2006) .............................................................................. 16
  13
  14 Geiss v. Weinstein Co. Holdings LLC,
         2018 WL 6314159 (C.D. Cal. Nov. 5, 2018) ....................................................... 9
  15
     Gonzalez-Cervantes v. Holder,
  16     709 F.3d 1265 (9th Cir. 2013) ............................................................................ 13
  17
     Harrington v. Purdue Pharma L.P.,
  18     144 S. Ct. 44 (2023)............................................................................................ 20
  19 Hillard v. TABC, Inc.,
  20    2017 WL 6940540 (C.D. Cal. Dec. 18, 2017).................................................... 12
  21 Huett v. Weinstein Co. LLC,
  22   2018 WL 6314159 (C.D. Cal. Nov. 5, 2018) ....................................................... 6

  23 Molenda v. Universal City Studios LLC,
       2020 WL 6653505 (C.D. Cal. June 8, 2020)...................................................... 15
  24
  25 Noble v. Weinstein,
       335 F. Supp. 3d 504 (S.D.N.Y. 2018) ............................................................ 9, 10
  26
     Russo v. APL Marine Servs., Ltd.,
  27   2014 WL 3506009 (C.D. Cal. July 14, 2014) .............................................. 11, 12
  28
        604405361.1                                               iii
        NOTICE OF MOTION AND MOTION OF DEFENDANTS JAMES DOLAN AND JD & THE STRAIGHT SHOT,
                 LLC TO DISMISS PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 12(b)(6)
Case 2:24-cv-00371-PA-AGR Document 52 Filed 04/24/24 Page 8 of 32 Page ID #:597




   1 Smith v. Charter Commc’ns, Inc. (St. Louis),
        467 F. App’x 742 (9th Cir. 2012) ....................................................................... 18
   2
   3 Su v. Henry Glob. Consulting Grp.,
        2022 WL 19392 (C.D. Cal. Jan. 3, 2022)........................................................... 14
   4
     In re The Weinstein Company Holdings LLC.,
   5
        No. 18-10601-MFW, D.I. 3203 & 3203-1 (Bankr. D. Del. Jan. 26,
   6    2021) ............................................................................................................. 14, 19
   7 Treminio v. Crowley Mar. Corp.,
   8    649 F. Supp. 3d 1223 (M.D. Fla. 2023) ............................................................. 12
   9 United States v. Todd,
  10   627 F.3d 329 (9th Cir. 2010) ............................................................................ 4, 6

  11 United States v. United Mine Workers of Am.,
       330 U.S. 258 (1947) ........................................................................................... 20
  12
  13 California Cases
  14 Angie M. v. Superior Ct.,
       37 Cal. App. 4th 1217 (1995) ....................................................................... 10, 11
  15
  16 Austin B. v. Escondido Union Sch. Dist.,
       149 Cal. App. 4th 860 (2007) ............................................................................. 16
  17
     Casey v. U.S. Bank Nat. Ass’n,
  18   127 Cal. App. 4th 1138 (2005) ..................................................................... 15, 16
  19
     Howard v. Superior Ct.,
  20   2 Cal. App. 4th 745 (1992), modified (Feb. 10, 1992) ....................................... 17
  21 People v. Chavez,
  22   84 Cal. App. 4th 25 (2000) ................................................................................. 13
  23 Federal Statutes
  24 18 U.S.C.
  25    § 1591 ................................................................................................................... 4
        § 1595 ................................................................................................................ 4,5
  26
  27
  28
        604405361.1                                                  iv
         NOTICE OF MOTION AND MOTION OF DEFENDANTS JAMES DOLAN AND JD & THE STRAIGHT SHOT,
                  LLC TO DISMISS PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 12(b)(6)
Case 2:24-cv-00371-PA-AGR Document 52 Filed 04/24/24 Page 9 of 32 Page ID #:598




   1 California Statutes
   2 Cal. Civ. Code
   3    § 1708.5 ........................................................................................................ 10, 13
   4 Cal. Civ. Proc. Code
        § 335.1 ................................................................................................................ 12
   5
        § 340.16 .............................................................................................................. 12
   6
     Cal. Penal Code
   7    § 243.4 ................................................................................................................ 13
   8
     Other State Statutes
   9
     Fla. Stat. Ann.
  10    § 95.11(3)(n) ....................................................................................................... 12
  11
     Other Authorities
  12
     Alison Merrilees, Sexual Assault: Statute of Limitations, at 12 (Apr.
  13    27, 2022), available at
  14    https://leginfo.legislature.ca.gov/faces/billAnalysisClient.xhtml?bill
        _id=202120220AB2777 ..................................................................................... 14
  15
  16 H.R. REP. 106-487, 1 ............................................................................................ 4, 8
  17
  18
  19
  20
  21
  22
  23
  24
  25
  26
  27
  28
        604405361.1                                                  v
         NOTICE OF MOTION AND MOTION OF DEFENDANTS JAMES DOLAN AND JD & THE STRAIGHT SHOT,
                  LLC TO DISMISS PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 12(b)(6)
Case 2:24-cv-00371-PA-AGR Document 52 Filed 04/24/24 Page 10 of 32 Page ID #:599




    1                   MEMORANDUM OF POINTS AND AUTHORITIES
    2 I.         PRELIMINARY STATEMENT
    3            On March 25, 2024, Defendants James Dolan and JD & The Straight Shot, LLC
    4 (the “Dolan Defendants”) filed their first Motion to Dismiss (“MTD”), Doc. No. 47,
    5 clearly articulating the myriad ways every claim brought against them in the
    6 Complaint failed to state a claim (having already given counsel an exact play-by-play
    7 of the MTD in an earlier meet and confer). Now, in an exercise in futility and
    8 inefficiency, Plaintiff has filed her First Amended Complaint (“FAC”), Doc. No. 48,
    9 which not only fails to correct the deficiencies in Plaintiff’s initial pleading, but in
  10 many ways compounds them. Plaintiff again relies on a baseless theory of liability-
  11 by-association by including a barely amended, and still fatally deficient, aiding and
  12 abetting cause of action in order to paint the entire FAC with the broad—and entirely
  13 gratuitous—brush of Harvey Weinstein. Due to these deficiencies, along with the
  14 continued absence of viable allegations to support the three speculative, deficient, and
  15 entirely fantastical causes of action against the Dolan Defendants, the FAC must be
  16 dismissed under Fed. R. Civ. P. 12(b)(6).
  17             First, Plaintiff’s First Cause of Action under the Trafficking Victims Protection
  18 Act (“TVPA” or “the Act”) fails in every respect under either theory of liability
  19 created by the Act. As to the first possible theory under the TVPA, perpetrator
  20 liability, Plaintiff fails to sufficiently allege any of the requisite elements of such a
  21 claim, including by failing to allege that the Dolan Defendants (1) committed any of
  22 the enumerated acts for which one can be punished under the Act (e.g., transporting
  23 or harboring Plaintiff), with knowledge that Plaintiff would be subjected to force,
  24 fraud, or coercion to cause her to engage in a commercial sex act; or (2) exchanged
  25 anything of value for sex, as required to allege a “commercial sex act” under the Act—
  26 a statute that targets and criminalizes sex trafficking, not sexual relations (which is all
  27 that is alleged in the FAC). Plaintiff’s suggestion that the Dolan Defendants are also
  28
        604405361.1                                  1
        NOTICE OF MOTION AND MOTION OF DEFENDANTS JAMES DOLAN AND JD & THE STRAIGHT SHOT,
                 LLC TO DISMISS PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 12(b)(6)
Case 2:24-cv-00371-PA-AGR Document 52 Filed 04/24/24 Page 11 of 32 Page ID #:600




    1 liable for violating the TVPA under a beneficiary theory of liability is, if possible,
    2 even more deficient. Plaintiff has failed to allege any legally cognizable benefit the
    3 Dolan Defendants received for allegedly “trafficking” her, and she fails to plausibly
    4 allege the Dolan Defendants knew she would be trafficked (or that she was, in fact,
    5 trafficked). Consequently, her TVPA claim must be dismissed.
    6            Second, Plaintiff’s Second Cause of Action alleged against Mr. Dolan for
    7 sexual battery also fails to state a claim and must be dismissed. Indeed, Plaintiff fails
    8 to allege the most fundamental elements of a claim for sexual battery—that Mr. Dolan
    9 intended to touch Plaintiff in any harmful, offensive, and non-consensual manner—
  10 at any time when Plaintiff and Mr. Dolan were in California. Moreover, Plaintiff’s
  11 sexual battery claim is time-barred.
  12             Finally, Plaintiff unabashedly continues to pursue the Fourth Cause of Action
  13 against Mr. Dolan for aiding and abetting an alleged assault perpetrated by Harvey
  14 Weinstein (“Weinstein”), a claim that remains entirely meritless, even accepting the
  15 allegations in the FAC as true. In order to state this claim, Plaintiff must allege that
  16 Mr. Dolan knew that Weinstein planned to assault Plaintiff and that Mr. Dolan
  17 substantially assisted or encouraged Weinstein to carry out the assault; yet she alleges
  18 no facts plausibly supporting either of these elements in the FAC (nor could she).
  19             Dismissal is also mandated because this claim was released in a separate federal
  20 action. As fully briefed in the Dolan Defendants’ first MTD, Doc. No. 47 at 19–22,
  21 the United States Bankruptcy Court for the District of Delaware (the “Bankruptcy
  22 Court”), as a component of the global resolution of the 2018 bankruptcy proceedings
  23 involving The Weinstein Company (“TWC”), entered an Order approving a
  24 comprehensive Plan of Liquidation that released all of the former directors of TWC—
  25 expressly including Mr. Dolan—from any claims, whether asserted or unasserted, that
  26 relate “directly or indirectly” to alleged sexual misconduct by Weinstein.
  27 Concomitant to that release, which alone bars Plaintiff’s aiding and abetting claim,
  28
        604405361.1                                  2
        NOTICE OF MOTION AND MOTION OF DEFENDANTS JAMES DOLAN AND JD & THE STRAIGHT SHOT,
                 LLC TO DISMISS PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 12(b)(6)
Case 2:24-cv-00371-PA-AGR Document 52 Filed 04/24/24 Page 12 of 32 Page ID #:601




    1 the Bankruptcy Court entered a “Channeling Injunction,” which, by its terms,
    2 permanently enjoined claims against Mr. Dolan (as a “Released Party”) of the very
    3 sort that Plaintiff asserts Mr. Dolan “aided and abetted” in this action. It was
    4 undisputed at the time of the filing of the initial Complaint that Plaintiff’s counsel was
    5 aware of the injunction, as her counsel had objected to—and pursued an unsuccessful
    6 appeal of—the terms of the Channeling Injunction in the TWC bankruptcy. This
    7 aiding and abetting claim, both released by and brought in violation of a federal court
    8 order, should not be countenanced by this Court.
    9            For these reasons, and those discussed more fully below, the Court should
  10 dismiss all three claims asserted against the Dolan Defendants in the FAC.
  11 II.         LEGAL STANDARD
  12             To survive a motion to dismiss under Fed. R. Civ. P. 12(b)(6), a complaint must
  13 “contain sufficient factual matter, accepted as true, to ‘state a claim to relief that is
  14 plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl.
  15 Corp. v. Twombly, 550 U.S. 544, 570 (2007)). A claim is facially plausible “when
  16 the plaintiff pleads factual content that allows the court to draw the reasonable
  17 inference that the defendant is liable for the misconduct alleged.” Id. (citing Twombly,
  18 550 U.S. at 556).
  19             “[A] plaintiff’s obligation to provide the grounds of [her] entitlement to relief
  20 requires more than labels and conclusions, and a formulaic recitation of the elements
  21 of a cause of action will not do.” Twombly, 550 U.S. at 555 (quotation omitted).
  22 Consequently, while factual allegations are entitled to a presumption of truth, “a court
  23 considering a motion to dismiss can choose to begin by identifying pleadings that,
  24 because they are no more than conclusions, are not entitled to the assumption of
  25 truth.” Iqbal, 556 U.S. at 679.
  26
  27
  28
        604405361.1                                  3
        NOTICE OF MOTION AND MOTION OF DEFENDANTS JAMES DOLAN AND JD & THE STRAIGHT SHOT,
                 LLC TO DISMISS PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 12(b)(6)
Case 2:24-cv-00371-PA-AGR Document 52 Filed 04/24/24 Page 13 of 32 Page ID #:602




    1 III.       ARGUMENT
    2            A.    The FAC Fails to State a Claim Under 18 U.S.C. §§ 1591 and
    3                  1595
    4            Plaintiff’s claim that the Dolan Defendants violated 18 U.S.C. §§ 1591 and
    5 1595 (the “Trafficking Victims Protection Act” or “TVPA”) should be dismissed
    6 under Rule 12(b)(6). Not only is Plaintiff’s claim under the TVPA legally deficient,
    7 but her cynical attempt to exploit the TVPA for a financial windfall makes a mockery
    8 of the Act. The legislative history makes clear that the purpose of the TVPA is “to
    9 combat trafficking in persons, a contemporary manifestation of slavery.” H.R. REP.
  10 106-487, 1. Even a cursory review of the horrific criminal and civil cases brought
  11 under the Act makes this more than apparent. E.g., United States v. Todd, 627 F.3d
  12 329, 330–31 (9th Cir. 2010) (“The statute focuses on those … who make money out
  13 of selling the sexual services of human beings … they control and treat as their profit-
  14 producing property”). No such conduct is alleged in the FAC, which, put simply,
  15 alleges that a licensed massage therapist voluntarily traveled to California to provide
  16 legitimate massage therapy services during one of several legs of a domestic tour by
  17 a world-famous rock band. (See generally FAC ¶¶ 47–51.) For the reasons stated
  18 below, that does not begin to state a claim for “a contemporary manifestation of
  19 slavery” under the TVPA.
  20             Section 1595 provides a civil remedy to victims of sex trafficking as defined
  21 by Section 1591. The remedy is available against both perpetrators and beneficiaries
  22 of Section 1591 violations. 18 U.S.C. § 1595(a). As to perpetrators, the TVPA is
  23 violated when a person: “knowingly … recruits, entices, harbors, transports, provides,
  24 obtains, advertises, maintains, patronizes, or solicits by any means a person,” 18
  25 U.S.C. § 1591(a)(1), and knows “that means of force, threats of force, fraud, coercion
  26 …, or any combination of such means will be used to cause the person to engage in a
  27 commercial sex act.” 18 U.S.C. § 1591(a)(2). A beneficiary is also civilly liable
  28
        604405361.1                                4
        NOTICE OF MOTION AND MOTION OF DEFENDANTS JAMES DOLAN AND JD & THE STRAIGHT SHOT,
                 LLC TO DISMISS PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 12(b)(6)
Case 2:24-cv-00371-PA-AGR Document 52 Filed 04/24/24 Page 14 of 32 Page ID #:603




    1 under the statute to the extent such a person “knowingly benefits, or attempts or
    2 conspires to benefit, financially or by receiving anything of value from participation
    3 in a venture which that person knew or should have known has engaged in” sex
    4 trafficking as defined by Section 1591. 18 U.S.C. § 1595(a).
    5            As explained in detail below, the FAC fails to allege any of the necessary
    6 elements of either theory of liability. Instead, Plaintiff’s factual allegations of
    7 Mr. Dolan’s conduct in California simply describe a purported sexual relationship
    8 with disparities based on age and finances. The TVPA neither criminalizes such a
    9 relationship, nor creates a civil remedy for a participant in such a relationship.
  10                   1.     The FAC Fails to Make Out a Perpetrator Claim
  11             The FAC fails to allege two necessary elements of a perpetrator claim against
  12 the Dolan Defendants under the TVPA, and each such failure is independently fatal
  13 to Plaintiff’s claim. First, the FAC fails to allege an enumerated act by the Dolan
  14 Defendants that is prohibited under the TVPA, committed with the knowledge that
  15 force, fraud, or coercion would be used to perpetrate a commercial sex act. Second,
  16 relatedly, the FAC fails to allege that the Dolan Defendants intended a commercial
  17 sex act to occur (or that any such act did occur).
  18                          a.      The FAC Does Not Allege That the Dolan Defendants
  19                                  Knowingly Engaged in Any Conduct Prohibited
  20                                  Under the TVPA
  21             As unsavory as allegations of sexual assault may be—and ignoring
  22 momentarily that no such actionable conduct by Mr. Dolan is even sufficiently
  23 pleaded in this case1—they do not on their own make out the elements of a claim
  24 under the TVPA. See Doe v. Fitzgerald, 2022 WL 425016, at *8 (C.D. Cal. Jan. 6,
  25 2022) (noting that although “date rape is reprehensible, … not all date rapes are meant
  26
  27
            1
                See Section III.B, infra.

  28
        604405361.1                                5
        NOTICE OF MOTION AND MOTION OF DEFENDANTS JAMES DOLAN AND JD & THE STRAIGHT SHOT,
                 LLC TO DISMISS PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 12(b)(6)
Case 2:24-cv-00371-PA-AGR Document 52 Filed 04/24/24 Page 15 of 32 Page ID #:604




    1 to be punishable by a sex trafficking statute”). To state a claim against a perpetrator
    2 under the TVPA, a plaintiff must allege that the alleged perpetrator possesses culpable
    3 knowledge at the time he commits one of the acts enumerated in Section 1591(a).
    4 “The knowledge required of the defendant is such that if things go as he has planned,
    5 force, fraud or coercion will be employed to cause his victim to engage in a
    6 commercial sex transaction.” Todd, 627 F.3d at 334. The statute requires that the
    7 “defendant know in the sense of being aware of an established modus operandi that
    8 will in the future cause a person” to engage in a commercial sex act caused by fraud,
    9 force, or coercion. Id.
  10            The FAC does not contain any factual allegation that the Dolan Defendants had
  11 such knowledge. Instead, the only ostensibly knowledge-related allegations are
  12 conclusory and lack any factual content. (E.g., FAC ¶ 59 (alleging that “Ms. Croft
  13 was flown out to Los Angeles for the purposes of engaging in unwanted sexual acts
  14 with Dolan”).)
  15            Exacerbating these pleading deficiencies, it is impossible to discern what
  16 possible force, fraud, or coercion Plaintiff could be alleging with respect to any
  17 contemplated sexual interaction with Mr. Dolan in California. Plaintiff does not
  18 allege that the Dolan Defendants had any awareness that any such prohibited means
  19 would be utilized (or that they were in fact utilized). Compare, for example, the
  20 complaint in Huett v. Weinstein Co. LLC, which alleged that the defendant repeatedly
  21 engaged in a pattern of misconduct with women over the course of decades. 2018
  22 WL 6314159 (C.D. Cal. Nov. 5, 2018). There, the court found that allegation
  23 sufficient to state a claim under the TVPA because the defendant knew that he was
  24 likely to act in accordance with his own pattern. Id. at *2–3; see Todd, 627 F.3d at
  25 334 (conviction sustained where defendant’s “knowledge of his own modus operandi
  26 in securing an income from prostitution by a pattern of coercion was sufficient to
  27 support the jury’s verdict”).
  28
       604405361.1                                6
       NOTICE OF MOTION AND MOTION OF DEFENDANTS JAMES DOLAN AND JD & THE STRAIGHT SHOT,
                LLC TO DISMISS PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 12(b)(6)
Case 2:24-cv-00371-PA-AGR Document 52 Filed 04/24/24 Page 16 of 32 Page ID #:605




    1            The FAC does not allege any remotely similar pattern of conduct as to
    2 Mr. Dolan (nor could it). Nor does it make any plausible allegation that the Dolan
    3 Defendants knew that some prohibited means would be used to compel Plaintiff to
    4 engage in a commercial sex act. See Fitzgerald, 2022 WL 425016, at *8 (partially
    5 granting motion to dismiss because the plaintiff had not alleged that the defendant
    6 “invited her … with knowledge that he or someone else would” commit any of the
    7 acts prohibited by the TVPA). Indeed, Plaintiff’s allegations that Mr. Dolan acted
    8 “romantically” towards her and “led her to believe, at the time, that [he] actually cared
    9 about her” (FAC ¶ 63) suggest that he did not, and never intended to, use force, fraud,
  10 or coercion to engage in any sexual contact with her.
  11                   b.    The FAC Does Not Allege a Commercial Sex Act
  12             Equally fatal to Plaintiff’s TVPA claim is Plaintiff’s failure to allege that
  13 Mr. Dolan intended a commercial sex act to occur (or that any such act did occur),
  14 even ignoring her insufficient allegations of force, fraud, or coercion. The term
  15 “commercial sex act” is defined by 18 U.S.C. § 1591(e)(3) as “any sex act, on account
  16 of which anything of value is given to or received by any person.” The only references
  17 in the FAC to anything resembling a commercial sex act in California appear in two
  18 conclusory sentences of the FAC. (See FAC ¶¶ 113 (accusing Mr. Dolan in
  19 conclusory fashion of “engaging in unwanted commercial sex acts”), 119 (stating in
  20 a conclusory fashion that Mr. Dolan “intentionally engaged in trafficking Plaintiff for
  21 commercial sex acts”).) The FAC does not allege that Mr. Dolan paid Plaintiff to
  22 have sex with him. Nor does it allege any intangible benefit that was given to her in
  23 exchange for sex. To apply the TVPA based on these allegations would expand the
  24 scope of the statute to “yield absurd results.” Fitzgerald, 2022 WL 425016, at *7
  25 (citing Ma v. Ashcroft, 361 F.3d 553, 558 (9th Cir. 2004) (“[S]tatutory interpretations
  26 which would produce absurd results are to be avoided”)). Essentially, all sexual
  27 relationships in which there is an allegation of financial disparity between the
  28
        604405361.1                                7
        NOTICE OF MOTION AND MOTION OF DEFENDANTS JAMES DOLAN AND JD & THE STRAIGHT SHOT,
                 LLC TO DISMISS PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 12(b)(6)
Case 2:24-cv-00371-PA-AGR Document 52 Filed 04/24/24 Page 17 of 32 Page ID #:606




    1 participants would be transformed into “commercial sex acts.” Such an absurd and
    2 unprecedented result should not be endorsed by this Court.
    3            The additional allegation in the FAC that Plaintiff was concerned that
    4 “upsetting” Mr. Dolan would “would jeopardize her work with the Eagles and future
    5 opportunities” (FAC ¶ 62), does nothing to alter this conclusion. Endorsing this view
    6 of the TVPA would convert a broad swath of quid pro quo workplace sexual
    7 harassment claims into “sex trafficking,” a serious felony offense. There is no
    8 indication Congress intended such a broad construction of the TVPA—a statute
    9 targeting a “contemporary manifestation of slavery,” H.R. REP. 106-487, 1, not
  10 misconduct in the workplace. This Court should reject expanding the TVPA in such
  11 an unprecedented manner.
  12                   2.     The FAC Fails to State a Beneficiary Claim Under the TVPA
  13                          as to the Dolan Defendants
  14             Plaintiff also fails to allege the necessary elements of a beneficiary claim under
  15 the TVPA. To state a beneficiary claim under the statute, “a plaintiff must allege facts
  16 plausibly establishing that the defendant(s) ‘(1) knowingly benefitted (2) from
  17 participation in a venture (3) that they knew or should have known has engaged in
  18 trafficking the plaintiff.’” B.J. v. G6 Hosp., LLC, 2023 WL 3569979, at *3 (N.D. Cal.
  19 May 19, 2023) (quoting J.M. v. Choice Hotels Int’l, Inc., 2022 WL 10626493, at *2
  20 (E.D. Cal. Oct. 18, 2022)). Plaintiff fails to properly allege any of these elements.
  21                          a.     The FAC Fails to Allege that the Dolan Defendants
  22                                 Received Any Actionable Benefit
  23             Although Plaintiff alleges—albeit again in a conclusory manner—that the
  24 Dolan Defendants “benefitted” from an alleged sex-trafficking venture (FAC ¶¶ 114–
  25 115), she never alleges any facts that suggest, except in the most generalized and
  26 legally insufficient terms, the nature of that “benefit.” At most, Plaintiff avers that
  27 Mr. Dolan received sexual gratification as a result of his alleged relationship with
  28
        604405361.1                                   8
        NOTICE OF MOTION AND MOTION OF DEFENDANTS JAMES DOLAN AND JD & THE STRAIGHT SHOT,
                 LLC TO DISMISS PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 12(b)(6)
Case 2:24-cv-00371-PA-AGR Document 52 Filed 04/24/24 Page 18 of 32 Page ID #:607




    1 Plaintiff. (FAC ¶ 11 (alleging that Mr. Dolan “trafficked her for his own sexual
    2 gratification”).) As a matter of law, that is not a “benefit” recognized under the
    3 TVPA. Fitzgerald, 2022 WL 425016, at *9 (granting motion to dismiss beneficiary
    4 claim under the TVPA where the only benefit alleged was sexual gratification).
    5            As to Defendant JD & the Straight Shot, LLC, Plaintiff only implausibly and
    6 vaguely avers that the corporation “financially and otherwise benefited … by keeping
    7 Dolan satisfied.” (FAC ¶ 115.) Here, Geiss v. Weinstein Co. Holdings LLC is
    8 instructive. 383 F. Supp. 3d 156 (S.D.N.Y. 2019). In that case, Weinstein’s company
    9 was alleged to have financially benefited from Weinstein’s employment. See id. at
  10 169. The court held that allegation was insufficient, despite the company’s alleged
  11 participation in a sex trafficking venture with Weinstein. Id. at 169–70. Critically,
  12 the court found that the plaintiffs had not sufficiently alleged any benefit that TWC
  13 received “because of” Weinstein’s misconduct, as required under the TVPA. Id. at
  14 169. The FAC similarly fails to allege any benefit JD & the Straight Shot, LLC
  15 received “because of” any purported misconduct by Mr. Dolan.
  16                         b.    The FAC Fails to Allege the Dolan Defendants
  17                               Participated in a Sex Trafficking Venture
  18             The conclusory allegations concerning participation in a venture are also
  19 legally insufficient. Plaintiff has failed to plausibly allege knowing or reckless
  20 “participation in the sex trafficking act itself,” as required by the statute. Noble v.
  21 Weinstein, 335 F. Supp. 3d 504, 524 (S.D.N.Y. 2018). To the extent it is Plaintiff’s
  22 position that the Dolan Defendants were in a venture with themselves because, as she
  23 alleges, “JD & The Straight Shot, LLC is substantially or entirely owned, directly or
  24 indirectly, by Dolan” (FAC ¶ 15), that would be nonsensical. In essence, that would
  25 suggest that Mr. Dolan was in a venture with himself, while a “venture” under the
  26 statute clearly contemplates more than one participant. The FAC also entirely fails to
  27 establish a venture with the Azoff Entities. See Memorandum of Points and
  28
        604405361.1                               9
        NOTICE OF MOTION AND MOTION OF DEFENDANTS JAMES DOLAN AND JD & THE STRAIGHT SHOT,
                 LLC TO DISMISS PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 12(b)(6)
Case 2:24-cv-00371-PA-AGR Document 52 Filed 04/24/24 Page 19 of 32 Page ID #:608




    1 Authorities in Support of Defendants Azoff Entities’ Motion to Dismiss Pursuant to
    2 Federal Rule of Civil Procedure 12(b)(6), Doc No. 51 at 9–11.
    3                         c.     The FAC Fails to Allege that the Dolan Defendants
    4                                Knew or Should Have Known that Any Venture
    5                                Trafficked the Plaintiff
    6            This element fails for the same reason Plaintiff’s perpetrator theory of liability
    7 fails—namely because, as discussed in Section III.A.1 above, Plaintiff does not
    8 plausibly allege sex trafficking in the FAC. A person cannot have knowledge of an
    9 act that did not occur. And even if Plaintiff did plausibly allege sex trafficking
  10 generally (which she does not), she would still be required to allege that the Dolan
  11 Defendants knew (or recklessly disregarded) that “means of force, fraud or coercion
  12 would be used to cause [her] to engage in a commercial sex act.” Noble, 335 F. Supp.
  13 3d at 524. Yet Plaintiff does not allege that the Dolan Defendants knew that force,
  14 fraud, or coercion would be used at all (and indeed none is alleged to have been used
  15 by the Dolan Defendants), nor that any commercial sex act was intended (or, again,
  16 that any such act occurred).
  17             B.    The FAC Fails to State a Claim for Sexual Battery
  18             Plaintiff’s Second Cause of Action should also be dismissed because it fails to
  19 plausibly allege the requisite elements to state a claim for sexual battery under
  20 California law and, even if properly pleaded, such a claim would be time-barred by
  21 California’s two-year statute of limitations.
  22                   1.     The FAC Fails to Plausibly Allege the Elements of a Sexual
  23                          Battery Claim
  24             The FAC’s Second Cause of Action must be dismissed because it fails to
  25 properly allege an essential element of a sexual battery claim required by California
  26 law: that Mr. Dolan acted with the requisite intent (i.e., “the intent to cause a harmful
  27 or offensive contact”). Cal. Civ. Code § 1708.5(a)(1); Angie M. v. Superior Ct., 37
  28
        604405361.1                                  10
        NOTICE OF MOTION AND MOTION OF DEFENDANTS JAMES DOLAN AND JD & THE STRAIGHT SHOT,
                 LLC TO DISMISS PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 12(b)(6)
Case 2:24-cv-00371-PA-AGR Document 52 Filed 04/24/24 Page 20 of 32 Page ID #:609




    1 Cal. App. 4th 1217, 1225 (1995). Indeed, other than the conclusory parroting that
    2 “[a]t all relevant times, Dolan acted … with the knowledge of or with reckless
    3 disregard for the fact that his conduct was certain to cause injury and/or humiliation
    4 to Plaintiff, and intended to cause fear, physical injury, and/or pain and suffering to
    5 Plaintiff” (FAC ¶ 121), the FAC makes no allegations regarding Mr. Dolan’s intent
    6 with respect to any of his alleged interactions with Plaintiff in California.
    7            Plaintiff’s newly-minted but still conclusory claim that her consent to
    8 Mr. Dolan’s purported “sexual demands” was “neither free nor voluntary” and her
    9 scarce supporting allegations, essentially “that Defendant engaged in sex acts with
  10 [Plaintiff] against her will,” are insufficient to plead the requisite intent to state a
  11 sexual battery claim. Fitzgerald, 2022 WL 425016, at *10 (dismissing sexual battery
  12 claim that “fail[ed] to allege any other facts [beyond the conclusory allegation that
  13 Defendant engaged in non-consensual sex acts with Plaintiff] that raise[d] a plausible
  14 inference as to Defendant’s intent”). Rather, to allege the requisite intent, Plaintiff
  15 must allege facts that would raise a plausible inference that Mr. Dolan (a) knew that
  16 Plaintiff’s apparent consent was—despite its appearance—actually not real,
  17 meaningful consent, and (b) that he nonetheless touched her with the intent of causing
  18 harmful or offensive contact. See Russo v. APL Marine Servs., Ltd., 2014 WL
  19 3506009, at *5–6 (C.D. Cal. July 14, 2014) (dismissing battery where complaint failed
  20 to allege sexual touching continued after plaintiff indicated lack of consent).
  21 Plaintiff’s failure to allege intent-related facts alone requires the dismissal of her
  22 Second Cause of Action.
  23             It must also be noted that Plaintiff’s allegations concerning another element of
  24 sexual battery—namely, actual physical contact, Angie M., 37 Cal. App. 4th at 1225—
  25 have been stated so ambiguously as to be utterly implausible. (See FAC ¶ 62.) What
  26 the FAC does allege is that on some unspecified date(s), in some unspecified
  27 location(s), Plaintiff acceded to some unspecified demand(s) made by Mr. Dolan.
  28
        604405361.1                                 11
        NOTICE OF MOTION AND MOTION OF DEFENDANTS JAMES DOLAN AND JD & THE STRAIGHT SHOT,
                 LLC TO DISMISS PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 12(b)(6)
Case 2:24-cv-00371-PA-AGR Document 52 Filed 04/24/24 Page 21 of 32 Page ID #:610




    1 Plaintiff alleges that one such demand was that he be allowed to touch her “breasts,
    2 buttocks and vagina” (FAC ¶ 62), but she carefully does not allege that Mr. Dolan
    3 ever acted on that particular demand, in California, within the relevant statute of
    4 limitations period. This apparent ambiguity in her pleading is particularly striking
    5 given the salacious details she includes in other parts of the FAC (e.g., ¶¶ 92–93
    6 (providing a lurid description of Weinstein’s alleged assault)). It seems clear that the
    7 ambiguity in her amended allegations as it concerns any possible sexual battery by
    8 Mr. Dolan was intentional; if there were any “there there,” Plaintiff would have
    9 alleged it.
  10            Nevertheless, although her allegations as to touching are at best ambiguous,
  11 what is not ambiguous is her failure to allege that Mr. Dolan intentionally engaged in
  12 any non-consensual sexual conduct with her. That requires dismissal of her sexual
  13 battery claim. Russo, 2014 WL 3506009, at *5–6.
  14                  2.    Plaintiff’s Sexual Battery Claim is Time-Barred
  15            Plaintiff’s sexual battery claim arises from events that allegedly occurred in
  16 January 2014 and therefore is time-barred by California’s two-year statute of
  17 limitations governing battery claims. 2 Cal. Civ. Proc. Code § 335.1. Although
  18 California has a revival statute extending the statute of limitations to ten years for
  19 “civil actions for recovery of damages suffered as a result of sexual assault”—defined
  20 as the commission of any of the crimes in certain enumerated sections of the
  21 California Penal Code—that extension is inapplicable to Plaintiff’s claim. See Cal.
  22
  23
               To the extent that Plaintiff alleges that some of the events described in the
                2
  24 FAC occurred in Florida in late 2013, (e.g., FAC ¶¶ 37, 40–45), Florida’s statutes of
  25 limitations would apply to any claims based on torts that allegedly occurred in that
     state, see Hillard v. TABC, Inc., 2017 WL 6940540, at *3 (C.D. Cal. Dec. 18, 2017),
  26 and those claims therefore would also be time-barred. Fla. Stat. Ann. § 95.11(3)(n);
  27 Treminio v. Crowley Mar. Corp., 649 F. Supp. 3d 1223, 1234 (M.D. Fla. 2023).
  28
       604405361.1                                12
       NOTICE OF MOTION AND MOTION OF DEFENDANTS JAMES DOLAN AND JD & THE STRAIGHT SHOT,
                LLC TO DISMISS PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 12(b)(6)
Case 2:24-cv-00371-PA-AGR Document 52 Filed 04/24/24 Page 22 of 32 Page ID #:611




    1 Civ. Proc. Code § 340.16(b)(1) (the “Revival Statute”). The only section of the Penal
    2 Code that could even conceivably permit the application of the Revival Statute to
    3 Plaintiff’s allegations is California Penal Code § 243.4(e)(1) (misdemeanor sexual
    4 battery). However, while Plaintiff cites that statute (FAC ¶ 119), she fails to allege
    5 that Mr. Dolan committed necessary elements that would give rise to this
    6 misdemeanor criminal offense. Gonzalez-Cervantes v. Holder, 709 F.3d 1265, 1267
    7 (9th Cir. 2013) (misdemeanor sexual battery requires: “(1) the touching of an intimate
    8 part of another person, directly or through the clothing of the perpetrator or the victim;
    9 (2) against the person’s will; and (3) with specific intent to cause sexual arousal,
  10 sexual gratification, or sexual abuse.” (citing Cal. Penal Code § 243.4(e))).3
  11            Because Plaintiff’s claim does not seek relief for alleged conduct that would
  12 constitute a misdemeanor sexual battery, the Revival Statute does not apply.
  13 Specifically, Plaintiff fails to adequately allege that Mr. Dolan had any intent to make
  14 non-consensual contact and is intentionally ambiguous as to whether such contact was
  15 made. Additionally, Plaintiff fails to allege that Mr. Dolan acted with the specific
  16 intent required to commit a misdemeanor sexual battery (Cal. Penal Code § 243.4).4
  17 People v. Chavez, 84 Cal. App. 4th 25, 29 (2000) (“Sexual battery is a specific intent
  18 crime”). Since the FAC is completely devoid of any non-conclusory allegations that
  19 Mr. Dolan acted with specific intent to commit a criminal sexual assault while in
  20
  21
  22
               Stating a claim that amounts to a felony sexual battery requires pleading
                3

  23 additional elements wholly absent from the FAC, e.g., that the alleged sexual assault
     victim was unlawfully restrained at the time of the assault. See generally Cal. Penal
  24
     Code § 243.4(a)–(d).
  25        4
              As discussed in Section III.B.1, supra., Plaintiff also fails to allege the distinct
  26 intent required to commit a civil sexual battery. Alleging specific intent may not be
  27 required to state a claim for civil sexual battery. See Cal. Civ. Code § 1708.5.
  28
       604405361.1                                 13
       NOTICE OF MOTION AND MOTION OF DEFENDANTS JAMES DOLAN AND JD & THE STRAIGHT SHOT,
                LLC TO DISMISS PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 12(b)(6)
Case 2:24-cv-00371-PA-AGR Document 52 Filed 04/24/24 Page 23 of 32 Page ID #:612




    1 California, it fails to allege an offense triggering the Revival Statute.5
    2            C.    The FAC Fails to State a Claim Against Mr. Dolan for Aiding
    3                  and Abetting Weinstein
    4            The Court should also dismiss Plaintiff’s claim that Mr. Dolan aided and
    5 abetted Weinstein’s alleged assault. Under California law, liability for such a claim
    6 “depends on proof the defendant had actual knowledge of the specific primary wrong
    7 and that the defendant substantially assisted” in carrying out that wrong with such
    8 knowledge. Su v. Henry Glob. Consulting Grp., 2022 WL 19392, at *2 (C.D. Cal.
    9 Jan. 3, 2022) (cleaned up) (emphasis added) (quoting Casey v. U.S. Bank Nat. Ass’n,
  10 127 Cal. App. 4th 1138, 1145 (2005)). Here, Plaintiff’s Fourth Cause of Action fails
  11 on both fronts. First, the FAC sets forth no allegations that Mr. Dolan had any
  12 knowledge that Weinstein intended to assault Plaintiff. Second, Plaintiff fails to
  13 allege that Mr. Dolan substantially assisted or encouraged the commission of an
  14 assault against her by Weinstein.
  15             While the foregoing pleading deficiencies are dispositive, Plaintiff’s aiding and
  16 abetting claim is barred in any event by the Release and Channeling Injunction entered
  17 by the Bankruptcy Court in In re The Weinstein Company Holdings LLC., No. 18-
  18 10601-MFW, D.I. 3203 & 3203-1 (Bankr. D. Del. Jan. 26, 2021) [attached as
  19 “Ex. A”].
  20
  21
  22
  23            The FAC alleges at most a misdemeanor offense, and the legislative history
                 5

        of the Revival Statute and its amendment makes clear that “claims for sexual assaults
  24    that would be misdemeanors … are not revived by the bill’s proposed amendments to
  25    the Revival Statute.”           Alison Merrilees, Sexual Assault: Statute of
        Limitations, at 12 (Apr. 27, 2022), available at https://leginfo.legislature.ca.gov/face
  26    s/billAnalysisClient.xhtml?bill_id=202120220AB2777 (Report to Cal. Assemb.
  27    Comm. on Jud. re AB-2777).

  28
        604405361.1                                  14
        NOTICE OF MOTION AND MOTION OF DEFENDANTS JAMES DOLAN AND JD & THE STRAIGHT SHOT,
                 LLC TO DISMISS PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 12(b)(6)
Case 2:24-cv-00371-PA-AGR Document 52 Filed 04/24/24 Page 24 of 32 Page ID #:613




    1                  1.    The FAC Does Not Allege that Mr. Dolan Knew Weinstein
    2                        Was Going to Sexually Assault Plaintiff
    3            Aiding and abetting requires that a defendant have actual knowledge of the tort
    4 planned and committed by the principal tortfeasor.            Under California law, “a
    5 defendant can only aid and abet another’s tort if the defendant knows what ‘that tort’
    6 is.” Casey, 127 Cal. App. 4th at 1146.
    7            The FAC is devoid of any such allegations with respect to Mr. Dolan. Plaintiff
    8 does not aver that Mr. Dolan knew that Weinstein was going to assault her, beyond
    9 the threadbare statement that Mr. Dolan “acted with the knowledge of or with reckless
  10 disregard for the fact that his conduct was certain to cause injury and/or humiliation
  11 to Plaintiff, and intended to cause fear, physical injury, and/or pain and suffering to
  12 Plaintiff.” (FAC ¶ 131.)           Plaintiff’s only suggestion that Mr. Dolan had any
  13 communications with Weinstein regarding Plaintiff is her allegation that Weinstein
  14 told her “Dolan had mentioned his massage therapist and had said great things about
  15 her.” (FAC ¶ 71.) Nor does Plaintiff allege that Mr. Dolan even knew Weinstein was
  16 at The Peninsula Hotel on the date in question prior to Plaintiff’s purported report to
  17 Mr. Dolan that Weinstein had assaulted her. The deficiencies in Plaintiff’s claim are
  18 underscored by the allegation that Mr. Dolan called Plaintiff’s hotel room “in the
  19 midst of the assault” and thereby thwarted the very attack that Plaintiff claims he had
  20 supposedly arranged through an orchestrated elevator meeting. (FAC ¶¶ 94–95.)
  21             At most, Plaintiff alleges that Mr. Dolan became aware of Weinstein’s alleged
  22 assault after the fact, when, later that evening, she allegedly informed Mr. Dolan of
  23 her encounter with Weinstein. (FAC ¶¶ 97–99.) Such an ex post report does not
  24 support the inference that Mr. Dolan knew about Weinstein’s general intentions
  25 before the fact, “let alone that [he] knew the ‘specific primary wrong’ [he was]
  26 assisting.” Molenda v. Universal City Studios LLC, 2020 WL 6653505, at *3 (C.D.
  27 Cal. June 8, 2020).
  28
        604405361.1                                 15
        NOTICE OF MOTION AND MOTION OF DEFENDANTS JAMES DOLAN AND JD & THE STRAIGHT SHOT,
                 LLC TO DISMISS PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 12(b)(6)
Case 2:24-cv-00371-PA-AGR Document 52 Filed 04/24/24 Page 25 of 32 Page ID #:614




    1            The FAC suggests that Mr. Dolan was aware that Weinstein had a proclivity
    2 for sexual violence. But even if true, this general awareness, which at most amounts
    3 to a “vague suspicion of wrongdoing[,]” is insufficient to establish actual knowledge
    4 of a specific planned attack necessary to sustain a claim of aiding and abetting a sexual
    5 assault. In re First All. Mortg. Co., 471 F.3d 977, 993 n.4 (9th Cir. 2006) (recognizing
    6 the Casey court’s rejection of mere general allegations of knowledge). Here, Plaintiff
    7 alleges only that Mr. Dolan was not surprised by Weinstein’s alleged “sexually
    8 aggressive” behavior towards her and that Mr. Dolan described Weinstein as “a
    9 troubled person” with unspecified “serious issues.” (FAC ¶ 99.) These alleged ex
  10 post observations about Weinstein’s vague “issues” are insufficient to confirm
  11 Mr. Dolan’s knowledge that Weinstein was going to commit a “specific primary
  12 wrong”—namely, a sexual assault targeting Plaintiff. See Casey, 127 Cal. App. 4th
  13 at 1145–46. In short, because Plaintiff does not allege a single fact to suggest that
  14 Mr. Dolan knew Weinstein was going to assault Plaintiff, her aiding and abetting
  15 claim against Mr. Dolan fails as a matter of law.
  16                   2.     The FAC Fails to Allege that Mr. Dolan Gave Substantial
  17                          Assistance or Encouragement to Weinstein
  18             Plaintiff also fails to allege facts sufficient to satisfy the requisite element that
  19 Mr. Dolan substantially assisted or encouraged Weinstein’s actions. See Casey, 127
  20 Cal. App. 4th at 1144. Mere knowledge that a tort is to be committed, and the failure
  21 to prevent that tort, does not constitute aiding and abetting. Austin B. v. Escondido
  22 Union Sch. Dist., 149 Cal. App. 4th 860, 879 (2007). Instead, a defendant “must have
  23 acted to aid the primary tortfeasor ‘with knowledge of the object to be attained.’”
  24 Casey, 127 Cal. App. 4th at 1146 (quoting Lomita Land & Water Co. v. Robinson,
  25 154 Cal. 36, 47 (1908)).
  26             Plaintiff again fails to allege that Mr. Dolan in any way participated in, assisted,
  27 or encouraged Weinstein’s alleged assault. At most, Plaintiff implausibly—indeed
  28
        604405361.1                                   16
        NOTICE OF MOTION AND MOTION OF DEFENDANTS JAMES DOLAN AND JD & THE STRAIGHT SHOT,
                 LLC TO DISMISS PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 12(b)(6)
Case 2:24-cv-00371-PA-AGR Document 52 Filed 04/24/24 Page 26 of 32 Page ID #:615




    1 absurdly—implies that Mr. Dolan was somehow aware in advance that a chance
    2 meeting between Plaintiff and Weinstein was going to occur while she waited for a
    3 hotel elevator, and that Mr. Dolan therefore must be liable for the ensuing assault
    4 allegedly committed by Weinstein. Plaintiff’s unfounded belief that her alleged
    5 encounter with Weinstein would not have occurred otherwise does not sufficiently
    6 plead Mr. Dolan’s facilitation of the alleged assault.
    7            Plaintiff further implies that Mr. Dolan’s friendship with Weinstein was a
    8 substantial factor in aiding Weinstein’s alleged assault. In that regard, Plaintiff
    9 alleges that, after she volunteered to Weinstein that she was delivering food to
  10 Mr. Dolan, Weinstein introduced himself as Mr. Dolan’s good friend and used that
  11 friendship as a basis to continue the conversation with Plaintiff and invite her to his
  12 room. (FAC ¶ 71.) Yet, the mere fact that Mr. Dolan knew Weinstein, and that
  13 Mr. Dolan allegedly mentioned that fact to Plaintiff (FAC ¶ 72), does not establish
  14 any level of culpable participation by Mr. Dolan in Weinstein’s alleged assault of
  15 Plaintiff. See, e.g., Howard v. Superior Ct., 2 Cal. App. 4th 745, 749 (1992), modified
  16 (Feb. 10, 1992) (aiding and abetting “necessarily requires a defendant to reach a
  17 conscious decision to participate in tortious activity for the purpose of assisting
  18 another in performing a wrongful act”). Instructively, Plaintiff does not allege that
  19 Mr. Dolan attempted to introduce her to Weinstein or suggested that the two should
  20 meet. In short, Plaintiff offers no facts to support her conclusory allegation that
  21 Mr. Dolan aided Weinstein’s alleged assault. Therefore, Plaintiff’s Fourth Cause of
  22 Action should be dismissed.
  23
  24
  25
  26
  27
  28
        604405361.1                              17
        NOTICE OF MOTION AND MOTION OF DEFENDANTS JAMES DOLAN AND JD & THE STRAIGHT SHOT,
                 LLC TO DISMISS PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 12(b)(6)
Case 2:24-cv-00371-PA-AGR Document 52 Filed 04/24/24 Page 27 of 32 Page ID #:616




    1                  3.    Plaintiff’s Aiding and Abetting Claim was Filed in
    2                        Contravention of, and is Barred by, a Release and Injunction
    3                        Entered by the Bankruptcy Court for the District of
    4                        Delaware
    5            Plaintiff’s gratuitous attempt to infect this case with endless references to
    6 Weinstein provides another basis to dismiss her aiding and abetting claim pursuant to
    7 Rule 12(b)(6): That claim has been released and enjoined. Smith v. Charter
    8 Commc’ns, Inc. (St. Louis), 467 F. App’x 742, 744 (9th Cir. 2012) (affirming
    9 dismissal of claim released by a separate bankruptcy proceeding). In asserting that
  10 claim, Plaintiff—and perhaps more significantly, her counsel (who were deeply
  11 involved in the proceedings discussed below)—have knowingly violated a release and
  12 order of injunctive relief entered by the Bankruptcy Court that, by its explicit terms,
  13 permanently enjoined claimants from asserting the type of Weinstein-related claim
  14 that Plaintiff has brought in this action. Moreover, Plaintiff repeated the enjoined
  15 claim in her FAC, despite being put on explicit notice of the Bankruptcy Court’s order
  16 during counsel’s “meet and confer” on March 18, 2024, and again in the Dolan
  17 Defendants’ first MTD, filed on March 25, 2024. See Doc. No. 47, at 19–22. Plaintiff
  18 had ample opportunity to remove the barred claim from the FAC, but instead chose
  19 to proceed in an intentional violation of a federal court order.
  20             As was highly publicized at the time, following the revelations of Weinstein’s
  21 sexual misconduct, TWC sought protection under the United States Bankruptcy Code
  22 in proceedings before the Bankruptcy Court. Faced with the daunting task of
  23 resolving the hundreds of claims, asserted and unasserted, stemming from
  24 Weinstein’s misconduct—including a myriad of related claims against TWC and its
  25 former directors—on January 26, 2021, the Bankruptcy Court approved and entered
  26 as an Order the Fifth Amended Joint Chapter 11 Plan of Liquidation (the “Plan”),
  27 which had been submitted to the Bankruptcy Court for its consideration as a
  28
        604405361.1                                18
        NOTICE OF MOTION AND MOTION OF DEFENDANTS JAMES DOLAN AND JD & THE STRAIGHT SHOT,
                 LLC TO DISMISS PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 12(b)(6)
Case 2:24-cv-00371-PA-AGR Document 52 Filed 04/24/24 Page 28 of 32 Page ID #:617




    1 mechanism for resolving these and other categories of claims in the context of the
    2 ongoing bankruptcy proceedings. Ex. A, D.I. 3203 & 3203-1. Notice of the Plan was
    3 widely circulated before its approval by the Bankruptcy Court, including through
    4 advertisements in the New York Post, The Hollywood Reporter, and Variety. In re
    5 The Weinstein Company Holdings LLC., No. 18-10601-MFW, D.I. 3163–65. A
    6 central component of the global settlement reflected in the Plan was the release of all
    7 former TWC directors—including Mr. Dolan, who is specifically identified in the
    8 Plan as a “Released Party” 6 —from all “Sexual Misconduct Claims,” asserted or
    9 unasserted, which are defined in the Plan as any claims “that relate directly or
  10 indirectly to the alleged or actual sexual misconduct of Harvey Weinstein.”
  11 Concomitant to this negotiated and bargained-for release, the Plan includes a
  12 “Channeling Injunction,” which (a) “channeled” all Sexual Misconduct Claims
  13 against the Released Parties (specifically including Mr. Dolan) into the eight-figure
  14 settlement fund established by the Plan, for distribution to claimants by a specially
  15 appointed claims administrator, and (b) “permanently stayed, restrained and
  16 enjoined” any party from “taking any action,” including “commencing or continuing,
  17 in any manner, whether directly or indirectly, any suit, actions or proceedings of any
  18
  19
  20
  21
                6
                 Although Mr. Dolan was identified as a “Released Party” by virtue of his
       status as a “Former Representative” of TWC, the Plan released all “Sexual
  22   Misconduct Claims” against Mr. Dolan, regardless of whether those claims stem from
  23   alleged actions taken in his capacity as a TWC director. The fact that Plaintiff’s
       allegations concern conduct predating Mr. Dolan’s service as a TWC director is also
  24   irrelevant. The terms of the Channeling Injunction are unequivocal: So long as a
  25   claim concerns “the alleged or actual sexual misconduct of Harvey Weinstein,”
       Plaintiff may not commence “any suit, action[] or proceeding[] of any kind” against
  26   Mr. Dolan, no matter when or whether the underlying alleged misconduct occurred.
  27   Ex. A, D.I. 3203-1 at *8.

  28
       604405361.1                               19
       NOTICE OF MOTION AND MOTION OF DEFENDANTS JAMES DOLAN AND JD & THE STRAIGHT SHOT,
                LLC TO DISMISS PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 12(b)(6)
Case 2:24-cv-00371-PA-AGR Document 52 Filed 04/24/24 Page 29 of 32 Page ID #:618




    1 kind” against a “Released Party” (including Mr. Dolan) with respect to any Sexual
    2 Misconduct Claim. 7
    3            The Channeling Injunction is an order entered by a federal court that expressly
    4 prohibits claimants from asserting against, inter alia, Mr. Dolan any claims that relate
    5 to alleged sexual misconduct of Harvey Weinstein. Plaintiff’s aiding and abetting
    6 claim most assuredly arises directly from alleged sexual misconduct of Weinstein.
    7 The FAC could not be more explicit on the point, as it avers—albeit in a conclusory
    8 and legally insufficient manner—that Mr. Dolan somehow orchestrated Plaintiff’s
    9 alleged chance meeting with Weinstein, which Plaintiff claims resulted in her assault
  10 by Weinstein. By asserting that Mr. Dolan facilitated Weinstein’s alleged sexual
  11 assault of Plaintiff, Plaintiff and her counsel consciously violated a federal court
  12 order. 8 While there are, as discussed above, ample other grounds on which the aiding
  13 and abetting claim is subject to dismissal at the pleadings stage, the Release and
  14 Injunctive components of the Plan provide an independent, compelling basis that
  15 mandates dismissal of that claim. 9
  16
  17           Under the Plan, existing and putative claimants had the right to elect not to
                 7

  18 release Mr. Weinstein—but not any “Released Party” such as Mr. Dolan—if they so
     chose. Ex. A, D.I. 3203-1 at *8.
  19
            8
              A bankruptcy court’s authority to release claims against third parties without
  20 the claimants’ consent is on appeal in an unrelated case. Harrington v. Purdue
  21 Pharma L.P., 144 S. Ct. 44 (2023). However, unless and until the Bankruptcy Court’s
     Channeling Injunction is dissolved by a binding judicial directive, that injunction
  22
     remains enforceable, and Plaintiff cannot ignore it. United States v. United Mine
  23 Workers of Am., 330 U.S. 258, 293 (1947) (“an order issued by a court with
     jurisdiction over the subject matter and person must be obeyed by the parties until it
  24
     is reversed by orderly and proper proceedings”).
  25        9
              As a result of Plaintiff’s decision to paint all of her claims with the broadest
  26 possible “Weinstein brush,” this entire action asserts claims that relate to Weinstein’s
  27 alleged sexual misconduct. Although the Dolan Defendants do not at this juncture
  28
        604405361.1                                 20
        NOTICE OF MOTION AND MOTION OF DEFENDANTS JAMES DOLAN AND JD & THE STRAIGHT SHOT,
                 LLC TO DISMISS PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 12(b)(6)
Case 2:24-cv-00371-PA-AGR Document 52 Filed 04/24/24 Page 30 of 32 Page ID #:619




    1 IV.        CONCLUSION
    2            For each of the foregoing reasons, the Dolan Defendants respectfully request
    3 that the Court dismiss Plaintiff’s FAC and all claims asserted therein against them,
    4 with prejudice.
    5
    6
    7
    8
    9
  10
  11
  12
  13
  14
  15
  16
  17
  18
  19
  20
     seek dismissal of the entire action on these grounds, the Dolan Defendants reserve the
  21 right, in the event this action is not dismissed against them in its entirety, to argue at
  22 summary judgment and/or trial that all asserted claims are barred by the Injunction
     and Release.
  23
             Moreover, although potentially premature at this time, the Dolan Defendants
  24
     reserve the right to move to sever Weinstein pursuant to Fed. R. Civ. P. 21 and to
  25 strike all allegations concerning Weinstein pursuant to Fed. R. Civ. P. 12(f) following
     the Court’s ruling on the instant Motion to Dismiss.
  26
  27
  28
        604405361.1                               21
        NOTICE OF MOTION AND MOTION OF DEFENDANTS JAMES DOLAN AND JD & THE STRAIGHT SHOT,
                 LLC TO DISMISS PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 12(b)(6)
Case 2:24-cv-00371-PA-AGR Document 52 Filed 04/24/24 Page 31 of 32 Page ID #:620




    1 DATED: April 24, 2024                  Respectfully submitted,
    2
                                             PERRY LAW
    3
                                             By:      /s/ E. Danya Perry
    4
                                                E. Danya Perry
    5                                           Karen Agnifilo
    6                                           Joshua Stanton
                                                Attorneys for Defendants James Dolan and JD
    7                                           & The Straight Shot, LLC
    8
                                             By:      /s/ John J. Rosenberg
    9                                           John J. Rosenberg
                                                ROSENBERG, GIGER & PERALA, P.C.
  10                                            Attorneys for Defendants James Dolan and JD
  11                                            & The Straight Shot, LLC

  12
  13                                         By:      /s/ Robert E. Dugdale
                                                Robert E. Dugdale
  14                                            Michael J. McCarthy
  15                                            KENDALL BRILL & KELLY
                                                Attorneys for Defendants James Dolan and JD
  16                                            & The Straight Shot, LLC
  17
  18
                                              ATTESTATION
  19
                  I, Robert E. Dugdale, attest that all other signatories listed, and on whose
  20
        behalf the filing is submitted, concur in the filing’s content and have authorized the
  21
        filing.
  22
  23
                                             By:     /s/ Robert E. Dugdale
  24                                            Robert E. Dugdale
  25
  26
  27
  28
        604405361.1                                   22
        NOTICE OF MOTION AND MOTION OF DEFENDANTS JAMES DOLAN AND JD & THE STRAIGHT SHOT,
                 LLC TO DISMISS PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 12(b)(6)
Case 2:24-cv-00371-PA-AGR Document 52 Filed 04/24/24 Page 32 of 32 Page ID #:621




    1                           CERTIFICATE OF COMPLIANCE
    2            The undersigned, counsel of record for the Dolan Defendants, certifies that
    3 this brief contains 6,620 words, which complies with the word limit of Local Rule
    4 11-6.1.
    5
    6 DATED: April 24, 2024                   By:                 /s/ Robert E. Dugdale
    7                                                           Robert E. Dugdale
    8
    9
  10
  11
  12
  13
  14
  15
  16
  17
  18
  19
  20
  21
  22
  23
  24
  25
  26
  27
  28
        604405361.1                                 24
        NOTICE OF MOTION AND MOTION OF DEFENDANTS JAMES DOLAN AND JD & THE STRAIGHT SHOT,
                 LLC TO DISMISS PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 12(b)(6)
